        Case 1:21-cr-00387-APM Document 1-1 Filed 06/01/21 Page 1 of 11




                                   STATEMENT OF FACTS

        Your affiant, Rachelle M. Harris, is a Special Agent of the Federal Bureau of Investigation.
In my duties as a special agent, I have conducted and/or assisted in criminal investigations of a
variety of Federal criminal laws. Currently, I am tasked with investigating criminal activity in and
around the Capitol grounds on January 6, 2021. As a Special Agent, I am authorized by law or by
a Government agency to engage in or supervise the prevention, detention, investigation, or
prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. On January 6, 2021, only authorized people with appropriate identification were allowed
access inside the U.S. Capitol. Additionally, on that date, the exterior plaza of the U.S. Capitol
was also closed to members of the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, S.E., in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of


                                                 1
        Case 1:21-cr-00387-APM Document 1-1 Filed 06/01/21 Page 2 of 11




violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

       The FBI is investigating Audrey Ann Southard-Rumsey, a/k/a Audrey Ann Southard
(“SOUTHARD-RUMSEY”)’s role in the Capitol Attack. On or about January 11, 2021, the FBI
received a tip via its online tip submission portal. The tipster advised that SOUTHARD-RUMSEY
was in the Capitol Building on January 6, 2021. The tipster told the FBI that SOUTHARD-
RUMSEY, while using her Facebook profile, posted an image that captured her in front of the
Capitol Building with the caption “DC Taking it back!!”




       The tipster also captured a Twitter feed of SOUTHARD-RUMSEY outside the Capitol
Building stating “I’m doing a live feed. Standing in front of the Capitol Building ready to take it.
As soon as we get enough people up here. To run the Capitol Building. It’s going to be fun.”




                                                 2
        Case 1:21-cr-00387-APM Document 1-1 Filed 06/01/21 Page 3 of 11




        Social media checks also revealed text messages from SOUTHARD-RUMSEY stating,
“Going to DC tomorrow…Patriot’s vs Traitors” and “We The People are making a
declaration…1776!!” The postings have since been removed from SOUTHARD-RUMSEY’s
social media page.

       I checked SOUTHARD-RUMSEY’s identity against her driver’s license photo which
shows her to be the same person appearing in the photos posted on her Facebook account,
audreyann.southard.




        On or about January 16, 2021, the FBI conducted an interview of a known SOUTHARD-
RUMSEY associate (“W-1”). W-1 confirmed traveling from Florida in a rental car with
SOUTHARD-RUMSEY and two (2) other individuals on January 5, 2021. The group arrived
late that day in the Williamsburg, Virginia area and rented a condo at The Historic Powhatan


                                             3
        Case 1:21-cr-00387-APM Document 1-1 Filed 06/01/21 Page 4 of 11




Resort. On January 6, 2021, W-1, SOUTHARD-RUMSEY and the other individuals drove into
Washington, D.C. arriving sometime between 9:00 a.m. to 10:00 a.m.

        W-1 claimed SOUTHARD-RUMSEY and the rest of the group were unable to get near
the area where President Trump was speaking so they headed towards the Capitol Building. W-
1, SOUTHARD-RUMSEY and the other two (2) individuals were present on the steps of the east
side of the Capitol Building. W-1 became separated from SOUTHARD-RUMSEY when the
crowd surged forward towards the Capitol Building. After being separated from SOUTHARD-
RUMSEY for a period of time, W-1 found SOUTHARD-RUMSEY crying and sitting on steps
located on the east side of the Capitol Building. SOUTHARD-RUMSEY informed W-1 she had
entered the Capitol Building.

       I have reviewed numerous video clips from inside the Capitol Building in which
SOUTHARD-RUMSEY is present. SOUTHARD-RUMSEY entered the Capitol Building
through the Rotunda Door at approximately 2:26 p.m. on January 6, 2021. The Rotunda Door is
located on the east side of the Capitol Building. The route SOUTHARD-RUMSEY took in the
Capitol Building is depicted below from screenshots taken of the reviewed video clips.
SOUTHARD-RUMSEY was seen removing various clothing items as she progressed through the
Capitol Building.




                   SOUTHARD-RUMSEY entering the Capitol Building through the
                                   Rotunda Door.




                                             4
Case 1:21-cr-00387-APM Document 1-1 Filed 06/01/21 Page 5 of 11




        After arriving in Rotunda, SOUTHARD-RUMSEY heads south
                             towards Statuary Hall.




       SOUTHARD-RUMSEY places an item at the base of the George
                Washington Statue in the Rotunda.




                                  5
Case 1:21-cr-00387-APM Document 1-1 Filed 06/01/21 Page 6 of 11




          SOUTHARD-RUMSEY in Statuary Hall heading south
                towards the Statuary Hall Connector.




                   SOUTHARD-RUMSEY discarding her
                    jacket as she enters the Statuary Hall
                                 Connector.




                                    6
        Case 1:21-cr-00387-APM Document 1-1 Filed 06/01/21 Page 7 of 11




                               SOUTHARD-RUMSEY within the
                                  Statuary Hall Connector.




                           SOUTHARD-RUMSEY standing in front of
                           Sgt. V. in the Statuary Hall Connector before
                             the doors leading onto the House Floor.

    After arriving in the Statuary Hall Connector area, SOUTHARD-RUMSEY stopped and
stood in front of United States Capitol Police (USCP) Sergeant N.V. (“Sgt. V.”). Several other

                                                 7
        Case 1:21-cr-00387-APM Document 1-1 Filed 06/01/21 Page 8 of 11




USCP Officers stood behind Sgt. V. SOUTHARD-RUMSEY can be heard in the video clips
yelling the following at the USCP Officers:

   •   “Tell Pelosi we are coming for that bitch.”
   •   “You ready, you ready.”
   •   “There’s a hundred thousand of us, what’s it going to be?”
   •    “Last friend, last bullet. What’s it going to be?”

SOUTHARD-RUMSEY can also be heard yelling at the other rioters, in substance, “Alright
push in here;” and “You ready to go again?”

Video footage reveals that as SOUTHARD-RUMSEY pushes into Sgt. V. that she is moving on
her own volition. The crowd is not pushing her in to him. She is moving forward voluntarily.




                     SOUTHARD-RUMSEY holding the flagpole against Sgt. V.

        On January 26, 2021, Sgt. V. was interviewed by the FBI concerning his assignment on
the day of the Capitol Building siege. Sgt. V., along with several other USCP officers, had been
reassigned from their normal posts to a hallway in the Capitol Building located between Statuary
Hall and the Hall of the House of Representatives (“House”). Sgt. V. was given instructions to
hold or delay the rioters who arrived at this location. Sgt. V. claimed there were two main
agitators in the group who approached his location. After being shown a video clip along with
several photos of the location he had been assigned in the Capitol Building, Sgt. V. identified
SOUTHARD-RUMSEY as one of the two main agitators in the group of rioters facing him.
While standing before him, SOUTHARD-RUMSEY said the following to Sgt. V., in substance,
“We’re coming, we’re coming” and “Let us through. We have the building already.”



                                               8
        Case 1:21-cr-00387-APM Document 1-1 Filed 06/01/21 Page 9 of 11




         At some point during Sgt. V.’s interaction with SOUTHARD-RUMSEY, she obtained a
flagpole which she held in her hands and pressed against his chest. Once SOUTHARD-
RUMSEY had the flagpole on Sgt. V.’s chest, she did not remove it and he felt pressure from it.
SOUTHARD-RUMSEY was the only one holding onto the flagpole. When the second agitator
of the group yelled “Let’s go,” SOUTHARD-RUMSEY started pushing Sgt. V. with the flagpole
and drove him back into the first set of doors leading onto the House floor. When Sgt. V. hit the
doors, the doors flew open and he was pushed into the Lafayette marble statue striking the back
left side of his head on the base of the statue. Sgt. V. felt like he was being trampled during the
ordeal.




                    SOUTHARD-RUMSEY pushing Sgt. V. with the flagpole
                                  toward the house floor doors.

        Following the Capitol Building siege on January 6, 2021, FBI Task Force Officer (TFO)
Siobhan Maseda had obtained and reviewed video footage from inside the Capitol Building and
identified SOUTHARD-RUMSEY. TFO Maseda is assigned to the FBI’s Tampa Field Office
and has previously had multiple interactions with SOUTHARD-RUMSEY in relation to her
protesting activities in Florida.

        According to records obtained through a search warrant served on Google, a mobile device
associated with voxxmechanix@gmail.com was present at the U.S. Capitol on January 6, 2021.
Google estimates device location using sources including GPS data and information about nearby
Wi-Fi access points and Bluetooth beacons. This location data varies in its accuracy, depending
on the source(s) of the data. As a result, Google assigns a “maps display radius” for each location
data point. Thus, where Google estimates that its location data is accurate to within 10 meters,
Google assigns a “maps display radius” of 10 meters to the location data point. Finally, Google
reports that its “maps display radius” reflects the actual location of the covered device
approximately 68% of the time. In this case, Google location data shows that a device associated
with voxxmechanix@gmail.com was within the U.S. Capitol at coordinates associated with the
center of the Capitol Building from approximately 2:21 p.m. until 3:36 p.m. Google records show
that the “maps display radius” for this location data ranged from 13 meters to 145 meters.
Furthermore, surveillance footage from the entrance of the Rotunda doors are time-stamped within



                                                 9
        Case 1:21-cr-00387-APM Document 1-1 Filed 06/01/21 Page 10 of 11




minutes of 2:21p.m., the first Google coordinates identified inside the building, which
demonstrates SOUTHARD-RUMSEY entering the Capitol Building.

        The FBI has reviewed the available information for voxxmechanix@gmail.com in order to
determine whether there was any evidence that devices associated with that address could have
lawfully been inside the U.S. Capitol Building on January 6, 2021. The information for that address
did not match any information for persons lawfully within the Capitol. Accordingly, I believe that
the individual possessing this device was not authorized to be within the U.S. Capitol Building on
January 6, 2021.

       Records provided by Google revealed that the mobile device associated with
voxxmechanix@gmail.com belonged to a Google account registered in the name of Audrey Ann
SOUTHARD. The Google account also lists a recovery SMS phone number ending in 4979 and
a recovery email of aasouthard333@gmail.com.

       Records provided by Charter Communications show that the phone number ending in
4979 is registered in the name of Audrey SOUTHARD. The records also include a username of
aasouthard333@gmail.com.

         Based on the foregoing, your affiant submits that there is probable cause to believe that
SOUTHARD-RUMSEY violated 18 U.S.C. § 111(a)(1), which makes it unlawful to forcibly
assault, resist, oppose, impede, intimidate, or interfere with any person designated in section 1114
of this title while engaged in or on account of the performance of official duties. 18 U.S.C. § 1114
identifies “any person” as an officer or employee of the United States or of any agency in any
branch of the United States Government (including any member of the uniformed services) while
such officer or employee is engaged in or on account of the performance of official duties.

        Your affiant submits there is also probable cause to believe that SOUTHARD-RUMSEY
violated 18 U.S.C. § 231(a)(3), which makes it unlawful to commit or attempt to commit any act
to obstruct, impede, or interfere with any fireman or law enforcement officer lawfully engaged in
the lawful performance of his official duties incident to and during the commission of a civil
disorder which in any way or degree obstructs, delays, or adversely affects commerce or the
movement of any article or commodity in commerce or the conduct or performance of any
federally protected function. For purposes of Section 231 of Title 18, a federally protected function
means any function, operation, or action carried out, under the laws of the United States, by any
department, agency, or instrumentality of the United States or by an officer or employee thereof.
This includes the Joint Session of Congress where the Senate and House count Electoral College
votes.

        Your affiant submits there is also probable cause to believe that SOUTHARD-RUMSEY
violated 18 U.S.C. § 1512(c)(2), which makes it a crime to obstruct, influence, or impede any
official proceeding, or attempt to do so. Under 18 U.S.C. § 1515, congressional proceedings are
official proceedings.

        Your affiant submits there is also probable cause to believe that SOUTHARD-RUMSEY
violated 18 U.S.C. §§ 1752(a)(1), (2), and (4) which make it a crime to (1) knowingly enter or

                                                 10
        Case 1:21-cr-00387-APM Document 1-1 Filed 06/01/21 Page 11 of 11




remain in any restricted building or grounds without lawful authority to do; (2) knowingly, and
with intent to impede or disrupt the orderly conduct of Government business or official functions,
engage in disorderly or disruptive conduct in, or within such proximity to, any restricted building
or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct of
Government business or official functions; and (4) knowingly engages in any act of physical
violence against any person or property in any restricted building or grounds; or attempts or
conspires to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a
posted, cordoned off, or otherwise restricted area of a building or grounds where the President or
other person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        Finally, your affiant submits there is probable cause to believe that SOUTHARD-
RUMSEY violated 40 U.S.C. §§ 5104(e)(2)(D), (F) and (G), which make it a crime to willfully
and knowingly (D) utter loud, threatening, or abusive language, or engage in disorderly or
disruptive conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent
to impede, disrupt, or disturb the orderly conduct of a session of Congress or either House of
Congress, or the orderly conduct in that building of a hearing before, or any deliberations of, a
committee of Congress or either House of Congress; (F) engage in an act of physical violence in
the Grounds or any of the Capitol Buildings; and (G) parade, demonstrate, or picket in any of the
Capitol Buildings.

       Date: June 1, 2021



                                                      Rachelle M. Harris
                                                      Special Agent – Federal Bureau of
                                                      Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 1st day of June 2021.
                                                                             Digitally signed by G. Michael
                                                                             Harvey
                                                                             Date: 2021.06.01 16:07:12
                                                                             -04'00'

                                                      THE HON. G. MICHAEL HARVEY
                                                      U.S. MAGISTRATE JUDGE




                                                 11
